EXHIBIT
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                     DECLARATION OF BRENNAN GIAN-GRASSO
                             ATTORNEY FOR A.S.R.

I, Brennan Gian-Grasso, declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the
following is true and correct to the best of my knowledge and belief:

   1. I am a founding partner at Gian-Grasso & Tomczak Immigration Law Firm in
      Philadelphia, Pennsylvania. I represent A.S.R. in his immigration proceedings and
      previously submitted a declaration in this case in support of A.S.R.’s habeas petition and
      Motion for a Temporary Restraining Order. See ECF 1-2.

   2. A.S.R. was scheduled for a Master Calendar Hearing in the Elizabeth, New Jersey,
      immigration court on April 15, 2025.

   3. On the morning of April 15, 2025, I emailed both the Philadelphia ICE ERO Outreach and
      Moshannon ERO Outreach mailboxes to determine A.S.R.’s location. I was concerned
      after receiving a call from his wife saying that he was moved from his cell with a number
      of other detainees early that morning. We were concerned that he might be transferred.

   4. At 11:55 am ET, ICE Deportation Officer Joshua Belcher for the Moshannon sub-office
      of the ICE Philadelphia Office responded, saying: “He is still in custody at Moshannon,”
      referring to Moshannon Valley Processing Center, an immigration detention facility in
      Clearfield County, Pennsylvania. Based on this information, I expected A.S.R. to appear
      at his Master Calendar Hearing via video link.

   5. A.S.R. was not produced for his Master Calendar Hearing scheduled for 1:30 pm on April
      15.

   6. At 2:03 pm ET on April 15, 2025, I emailed A.S.R.’s ICE Deportation Officer Belcher to
      obtain additional information. I explained that A.S.R. was not produced for the Master
      Calendar Hearing. I asked whether he might have been taken to see a medical provider. I
      asked this because A.S.R. had been experiencing cardiac issues and was awaiting further
      treatment for that. I also explained to Officer Belcher that EOIR had been told A.S.R. was
      not at Moshannon.

   7. At 3:23 pm ET on April 15, 2025, ICE Deportation Officer Belcher sent me another
      email. In that email, he wrote, “The subject [A.S.R.] was transferred to Blue Bonnet
      Detention Center in Abeline [sic], Texas.” Id. Officer Belcher’s email did not provide any
      information about when this transfer took place or why it had occurred.




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   8. After A.S.R.’s transfer to Bluebonnet, I requested a legal call with him through the
      procedures that ICE lists for Bluebonnet. My paralegal initiated the request for me on
      April 16, 2025. My office completed the steps required to schedule a call on April 16,
      2025 and followed up on April 17, 2025 and April 18, 2025 to ask about the status of the
      legal call. On April 22, I received an appointment for a legal call on Friday, April 25,
      2025.


I, Brennan Gian-Grasso, swear under penalty of perjury that the forgoing declaration is true and
correct to the best of my knowledge and recollection.

                                                            /s/ Brennan Gian-Grasso
                                                            Brennan Gian-Grasso
                                                            Executed this 23rd day of April, 2025




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